                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
               Plaintiff,                        )
                                                 )
 v.                                              )      No.:    2:18-CR-72-KAC-CRW
                                                 )
 EMANUEL LEWIS ANDERSON,                         )
                                                 )
               Defendant.                        )

                            MEMORANDUM OPINION AND ORDER

        The Court began a supervised release revocation hearing in this case on January 10, 2024.

 At the hearing, the Court continued the hearing because Defendant raised a number of legal issues

 for the first time [See Doc. 41]. After the hearing, the Court ordered the Parties to file briefs

 addressing, among other things, whether “any sentence of imprisonment that the Court might

 impose after revocation of [Defendant’s] supervised release would violate the Fifth Amendment

 and the Sixth Amendment because the Court initially sentenced him to the statutory maximum

 term of imprisonment for his underlying conviction” [See Doc. 42 at 1-2]. Both Parties have now

 submitted briefs [See Docs. 44, 45]. It is prudent to address this legal issue now, in advance of

 Defendant’s continued supervised release revocation hearing.

        Defendant originally pled guilty to being an accessory after the fact related to the

 possession of stolen firearms, in violation 18 U.S.C. § 3 [See Doc. 7]. The statutory maximum

 term of imprisonment for this offense is five (5) years [See Doc. 14 ¶ 77, *sealed].

 See 18 U.S.C. §§ 3, 922(j), & 924(a)(2).      The Court sentenced Defendant to a term of

 imprisonment of sixty (60) months—the statutory maximum term of imprisonment [See Doc.

 20 at 2]. The Court also sentenced Defendant to three (3) years of supervised release [See id. at




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 3]. Defendant began his term of supervised release on May 6, 2021 [See Doc. 32 at 1]. On October

 26, 2023, the Court entered an “Amended Petition for Warrant for Offender Under

 Supervision” [Doc. 32]. The Amended Petition accused Defendant of various violations of the

 conditions of his supervised release [See id. at 1-6]. Defendant thus is subject to the revocation of

 his term of supervised release under 18 U.S.C. § 3583(e)(3).

        Plaintiff argues that the Court should “find that [Defendant] is entitled to a jury

 determination of any fact, beyond a reasonable doubt, that would subject him to further

 imprisonment because he has already served the statutory maximum for the conviction

 offense” [Doc. 44 at 13]. In support, Plaintiff argues that “any further imprisonment for this

 pending supervised release violation would fall squarely under” United States v. Apprendi, 530

 U.S. 466, 490 (2000), which “h[eld] that ‘any fact that increases the penalty for a crime beyond

 the prescribed statutory maximum must be submitted to a jury, and proved beyond a reasonable

 doubt’” [Doc. 44 at 13 (quoting Apprendi, 530 U.S. at 490)].

        Under precedent binding upon this Court, Defendant’s argument fails. The Supreme Court

 has “refused to ‘transplant’” Apprendi “to the supervised release context.” United States v.

 Robinson, 63 F.4th 530, 540 (6th Cir. 2023) (quoting United States v. Haymond, 588 U.S. ----, 139

 S. Ct. 2369, 2385 (2019) (Breyer, J., concurring in the judgment)). In Haymond, “a 4-1-4

 decision,” the Supreme Court “held that the Fifth and Sixth Amendments required a jury to find

 beyond a reasonable doubt that Haymond committed the crimes listed in” 18 U.S.C. § 3583(k).

 Id. at 538. Subsequently, in Robinson, the Sixth Circuit held “that Justice Breyer issued the

 Haymond opinion that binds” the Sixth Circuit because Justice Breyer’s opinion “took the

 narrowest path to the judgment finding § 3583(k) unconstitutional.” Id. at 540 (citing Marks v.

 United States, 430 U.S. 188, 193 (1977)). Therefore, “Justice Breyer’s narrower analysis” applies

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 to Fifth Amendment and Sixth Amendment challenges in the supervised release context. See

 id. at 540-42. This Court’s analysis, then, must be focused on whether 18 U.S.C. § 3583(e)(3)

 “looks more like a traditional supervised-release sanction than a penalty for a new

 crime.” Id. at 540.

        Section 3583(e)(3) looks more like a traditional supervised-release sanction. It “depends

 on the defendant’s original crime in a way that § 3583(k) does not” because it “ties the maximum

 term to the ‘severity of the original crime of conviction, not the conduct that results in revocation.’”

 See id. at 540-41 (citing Haymond, 139 S. Ct. at 2386 (Breyer, J., concurring in the judgment)).

 By contrast, Section 3583(k) “focuses on the new crime in a more significant way” by

 “mandat[ing] the same sentencing range for everyone—no matter the severity of their original

 crimes.” Id. at 541. Subsections 3853(e)(3) and 3853(k) “also generally reach different types of

 violations” because Section 3583(e)(3) “focus[es] primarily on whether defendants have violated

 their conditions of supervised release,” whereas Section 3583(k) focuses on “other federal offenses

 in the U.S. Code.” Id. (emphases omitted). Accordingly, revoking Defendant’s term of supervised

 release and requiring Defendant to serve time in prison upon revocation would not violate the Fifth

 Amendment or Sixth Amendment. The Court SETS Defendant’s continued supervised release

 revocation hearing for March 13, 2024, at 2:00 P.M.

        SO ORDERED.



                                                    s/ Katherine A. Crytzer
                                                    KATHERINE A. CRYTZER
                                                    United States District Judge




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